43 F.3d 1467
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John L. PASCUCCI, Petitioner Appellant,v.Joseph N. ORANDELLO, United States Probation Officer,Respondent Appellee.
    No. 94-6402.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1994.Decided Dec. 19, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-93-589-R).
      John L. Pascucci, appellant Pro Se.
      Nicholas Stephan Altimari, Office of the United States Attorney, Richmond, VA, for appellee.
      E.D.Va.
      DISMISSED.
      Before MURNAGHAN, NIEMEYER, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2241 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and grant Appellee's motion to dismiss the appeal based upon the reasoning of the district court.*  Pascucci v. Orandello, No. CA-93-589-R (E.D. Va.  Apr. 5, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         We note that Pascucci may move in the sentencing court for relief pursuant to 28 U.S.C. Sec. 2255 (1988) or Fed.R.Crim.P. 32.1(b)
      
    
    